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 8                    United States District Court
 9                    Central District of California
10                         Western Division
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12     DAVID RODRIGUEZ,                                 CV 15-05105 TJH (AGRx)
13                        Plaintiff,
14           v.
                                                                  Order
15     CREDIT BUREAU OF SANTA
       MARIA,
16                                                                 JS-6
                          Defendant.
17

18          The Court has considered Defendant’s motion for summary judgment, together
19    with the moving and opposing papers.
20          In a motion for summary judgment, when the nonmoving party has the burden
21    of proof at trial, as Plaintiff has here, summary judgment should be granted when the
22    nonmoving party fails to produce evidence to establish a prima facie case. See Celotex
23    Corp. v. Catrett, 477 U.S. 317, 322 (1986). Therefore, Plaintiff has the burden of
24    establishing a prime facie case that Defendant’s collection letter violated the Federal
25    Debt Collection Practices Act [“FDCPA”] and the Rosenthal Fair Debt Collection
26    Practices Act [“Rosenthal Act”], Cal. Civ. Code §§ 1788-1788.32.              However,
27    Defendant, as the moving party, has the initial burden of pointing out to the Court that
28    Plaintiff lacks the evidence to establish a prime facie case. See Emeldi v. University of

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 1    Oregon, 673 F.3d 1218, 1224 (9th Cir. 2012). Defendant has met its initial burden.
 2    Consequently, Plaintiff must establish a prime facie case, using admissible evidence,
 3    that Defendant’s collection letter violated the FDCPA and the Rosenthal Act. See
 4    Celotex, 477 U.S. at 322.
 5          To establish a prime facie case for violation of 15 U.S.C. §1692d of the FDCPA,
 6    which prohibits debt collectors from engaging in harassing or abusive conduct, Plaintiff
 7    must establish that Defendant’s conduct did more than cause “unwanted embarrassment,
 8    inconvenience, and further expense.” Miljkovic v. Shafritz and Dinkin, PA, 791 F.3d
 9    1291, 1305 (11th Cir. 2015).       Plaintiff must establish that Defendant’s conduct
10    exhibited a “tone of intimidation.” Miljkovic, 791 F.3d at 1305. The Eleventh Circuit
11    identified and expanded on the elements of §1692d that were not addressed by the Ninth
12    Circuit. Specifically, the Ninth Circuit provided only a partial definition of §1692d by
13    providing examples of behavior that “could rationally support a jury finding of
14    harassing conduct.” Fox v. Citicorp Credit Servs. Inc., 15 F.3d 1507, 1516 (9th Cir.
15    1994). But, beyond that example, the Ninth Circuit has not provided any guidance for
16    defining conduct that qualifies as harassment or abusive conduct. Here, Miljkovic is
17    instructive because it defined both the harassment and abuse elements of §1692d, and
18    provided a more thorough definition.
19          To establish that the letter was harassing and abusive, Plaintiff provided
20    declarations that the language in Defendant’s collection letter implied he was a
21    deadbeat. Plaintiff, also, declared that Defendant’s letter intimidated him because it
22    implied that Plaintiff did not pay his debt and “can’t face reality.” Here, the language
23    in the letters did not create a “tone of intimidation.” See Miljkovic, 791 F.3d at 1305.
24    Further, any embarrassment or guilt that the collection letter caused Plaintiff does not
25    establish a prime facie case of harassing or abusive conduct. Therefore, Plaintiff has
26    not established a prime facie case that Defendant’s collection letter violated §1692d of
27    the FDCPA.
28          To establish a prime facie case for violation of 15 U.S.C. § 1692e(10) of the

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 1    FDCPA, which prohibits debt collectors from using false or misleading representations,
 2    Plaintiff must establish that Defendant’s collection letter, “can be reasonably read to
 3    have two or more different meanings, one of which is inaccurate.” Gonzales v. Arrow
 4    Fin. Servs., LLC, 660 F.3d 1055, 1062 (9th Cir. 2011). In considering whether the
 5    letter was misleading, the Court must apply the least sophisticated debtor standard to
 6    determine whether the least sophisticated debtor would believe the letter to be
 7    misleading. Guerrero v. RJM Acquisitions LLC, 499 F.3d 926, 934 (9th Cir. 2007).
 8    This standard is lower than the reasonable debtor standard, and is focused on protecting
 9    consumers who are of below average sophistication or intelligence, uninformed, or
10    naive. Gonzales, 660 F.3d at 1061-1062. While the least sophisticated debtor is
11    expected to be reasonable and have a basic understanding and willingness to read with
12    care, debt collectors are not liable for bizarre, idiosyncratic, or peculiar
13    misrepresentations. Gonzales, 660 F.3d at 1062.
14          Applying the least sophisticated debtor standard, Plaintiff did not establish a
15    prime facie case that the letter made false or misleading representations. Plaintiff
16    argues that the language in Defendant’s letter was deceptive because it implied that he
17    could not face his financial obligations. However, Defendant’s letter did not contain
18    any statements that were inaccurate or could be reasonably read to have multiple
19    meanings. See Gonzales, 660 F.3d at 1062
20          To establish a prime facie case for violation of 15 U.S.C. §1692f of the FDCPA,
21    which prohibits debt collectors from using unfair or unconscionable practices to collect
22    any debt, Plaintiff must establish that Defendant’s collection letter, “[was] deceptive or
23    unfair,” “[had] the tendency or capacity to deceive” or was “‘unscrupulous’; ‘showing
24    no regard for conscience’; ‘affronting the sense of justice, decency, or
25    reasonableness.’” See LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1200 (11th
26    Cir. 2010). Again, the Court must apply the least sophisticated debtor standard to this
27    claim. LeBlanc, 601 F.3d 1200-01. As discussed above, the Eleventh Circuit’s
28    definition of the elements of §1692f is more thorough than the Ninth Circuit’s

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 1    definition. Wade v. Regional Credit Ass’n, 87 F.3d 1098, 1100 (9th Cir. 1996).
 2          Applying the least sophisticated debtor standard, the letter was not unfair or
 3    unconscionable. See LeBlanc, 601 F.3d at 1200. The letter was not deceptive because
 4    it merely relayed information regarding Plaintiffs’ debt rather than providing
 5    misinformation. See LeBlanc, 601 F.3d at 1200.
 6          Finally, because the Rosenthal Act derives from the FDCPA claims, summary
 7    judgment is, also, granted in favor of Defendant on the Rosenthal Act claim. See
 8    Gonzales, 660 F.3d at 1065.
 9

10          It is Ordered that the motion for summary judgment be, and hereby is,
11    Granted.
12

13    Date: July 26, 2016
14                                             __________________________________
15                                                    Terry J. Hatter, Jr.
16
                                               Senior United States District Judge

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